Case tts-er-08926-Documentit1.2 Filed 10/08/15 Page 1 of 6 PagelD #:22

 

CLAIM FOR DAMAGE, INSTRUCTIONS: Please read carefully the instructions onthe | FORM APPROVED

 

 

 

 

erse side and supply information requested on both sides of this | OMB NO. 1105-0008
INJURY, OR DEATH form. Use addtional sheet(s) if necessary, See reverse side for
additional instructions.
1. Submit to Appropriate Federal Agency: 2. Name, address of clalmant, and claimant's personal representative if any.
(See instructions on reverse). Number, Street, City, State and Zip code.
US Department of Health and Human Services, Office of the | Spatktes Wages, 4515 S. Michigan Ave, Apt C, Chicago,
General Counsel, 330 C Street, SW, Attn: Claims, Switzer IL 60658; Law Offices of Staphanie K. Nathanson, 70 W.
Building, Suite 2600, Washington, DC 20201 Madjson St., Suite 3960, Chicago, IL 60602 Sref
“ TrOENES: MicHhec T. LreeS on5/ A
3. TYPE OF EMPLOYMENT 4, DATE OF BIRTH 5. MARITAL STATUS 6. DATE AND DAY OF ACCIDENT 7. TIME (A.M. OR P.M.)
[[] mutrary CIVILIAN Single: December 15 2012

 

 

 

 

 

8. BASIS OF CLAIM (State in detail the known facts and circumstances atendiag fe damage, injury, or death, identifying persons and property itveived, the place of occurrence and
the cause thereof. Use additional pages if necessary).

See Attached.

 

9. PROPEIYY GAMAGE _

 

NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Stet City, State, and Zip Code).

None

 

BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE $HE PROPERTY MAY BE INSPECTED.
(See instructions on reverse side).

N/A

 

10. PERSONAL INJURY/WRONGFUL DEATH

 

STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BAS# OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE THE NAME
OF THE INJURED PERSON OR DECEDENT.

 

 

 

 

 

 

See Attached.
11, WITNESSES
NAME ADDRESS (Number, Street, City, State, and Zip Code)
Shumal Malepati, MD Mount Sinai Hospital Medical Center of Chicago
Elizabeth Reynoso, RN Mount Sinai Hospital Medical Center of Chicago
Jason Allawan, technician Mount Sinai Hospital Medical Center of Chicago
12, (See instructions on reverse). AMOUNT OF CLAIM (in dollars)
12a, PROPERTY DAMAGE 12b. PERSONAL INJURY 12c. WRONGFUL DEATH 12d. TOTAL (Failure to specify may cause
g Is 000,000.00 9 forfeiture of your rights).
None t ‘ . None (5,000,000.00

 

 

 

 

1 CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN

 

FULL SATISFASTION AND FANAL PETER MEM OF THIS CLAIM.
E PF stru

13a. SIG on reverse side). 13b. PHONE NUMBER OF PERSON SIGNING FORM [14. DAT! OF SIGNATURE
he ic S 312-263-9090 2/13 [iy

 

 

CIVIL PENALTY FOR PRESENTING CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
FRAUDULENT CLAIM CLAIM OR MAKING FALSE STATEMENTS
The claimant is lable to the United States Government for a civil Penalty of not less than Fine, imprisonment, og both. (See 18 U.S.C. 287, 1001 )

 

 

$5,000 and not more than $10,000, plus 3 times the amount of damages sustained
by the Govemment. (See 31 U.S.C. 3729). .

 

 

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95-109

STANDARD FORM 95 (REV. 2/2007)
PRESCRIBED BY DEPT. OF JUSTICE

EXHIBIT 28 CFR 14.2

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4. 5_Dacument #: 1-2 Filed: 10/08/15 Page 2 of 6 PagelD #:23
oo Crs 5-08.92: =<.

INSURANCE COVERAGE

 

In order that subrogation claims may be adjudicated, it is essential that the claimant provide the following information regarding the Insurance coverage of the vehicle or property.

 

15. Do you carry accident Insurance? Cc] Yes If yes, give name and address of insurance company (Number, Street, City, State, and Zip Code) and policy number. C] No
A

N/A i

t Padre, it
vi *

 

%
16. Have you filed a claim with your insurance carrier in this instance, and if ¢9, is it full coverage or ceo? “E] Yes [_] NeF 17. it deductible, state amount.
N/A ey. ¥ .

Tse

 

18. If a claim has been filed with your carrier, what action has your root a or proposed fo take with reference to your claim? (it is necessary id | you ascertain these facts),
N/A ;

 

19. Do you carry public liability and property damage insurance? CJ Yes If yes, give name and address of insurance carrier (Number, Street, City, State, and Zip Code), C] No

N/A
fl

 

Complete all items - Insert the word NONE where applicable.

A CLAIM SHALL BE DEEMED To HAVE BEEN PRESENTED WHEN A FEDERAL DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
AGENCY RECEIVES FROMA CLAIMANT, HIS DULY AUTHORIZED AGENT, ORLEGAL INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT,
REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
NOTIFICATION OF AN INCIDENT » ACCOMPANIED BY A CLAIM FOR MONEY TWO YEARS AFTER THE CLAIM ACCRUES.

Failure to completely execute this form or to supply the requested material within The amount claimed should be substantiated by competent evidence as follows:
two years from the date the claim accrued may render your claim invalid. A claim
is deemed presented when it Is received by the appropriate agency, not when it is (a) In support of the claim for personal injury or death, the claimant should submit a
mailed. written report by the attending physician, showing the nature and extent of the injury, the
nature and extent of treatment, the degree of permanent disabliity, if any, the prognosis,

. and the period of hospitalization, or incapacitation, attaching itemized bills for medical,
if instruction is needed in completing this form, the agency listed in item #1 on the reverse hospital, or burial expenses actually incurred,

side may be contacted, Compiete regulations Pertaining to claims asserted under the
Federal Tort Claims Act can be found in Title 28, Code of Federal Regulations, Part 14,
Many agencies have published Supplementing regulations. If more than one agency is (b) in support of claims for damage to property, which has been or can be economically
involved, please state each agency. repaired, the claimant should submit at least two Ktemized signed statements or estimates
by reliable, disinterested concems, or, if payment has been made, the itemized signed
receipts evidencing payment.
The claim may be filled by a duly authorized agent or other legal representative, provided
evidence satisfactory to the Government is submitted with the claim establishing express .
authority to act for the claimant. A claim presented by an agent or legal representative (c) In support of claims for damage to Property which is not economically repairable, or if
must be presented in the name of the claimant. If the claim is signed by the agent or the property is lost or destroyed, the claimant should Submit statements as to the original
legal representative, it must show the title or legal capacity of the person signing and be | cost of the Property, the date of purchase, and the value of the Property, both before and

88 agent, executor, administrator, parent, guardian or other representative, preferably reputable dealers or officials familiar with the type of property damaged, or by
two or more competitive bidders, and should be certified as being just and correct.

If caimant intends to file for both personal injury and property damage, the amount for

 

 

each must be shown in item number 12 of this form. (d) Failure to specify a sum certain will render your claim invalid and may resuit in
forfeiture of your rights.
PRIVACY ACT NOTICE
This Notice is provided in accordance with the Privacy Act, 5 U.S.C. 552a(e)(3), and B. Principal Purpose: The information requested is to be used in evaluating claims.
Concems the information requested in the letter to which this Notice is attached. C. Routine Use: See the Notices of Systems of Records for the agency to whom you are
A. Authority: The requested information is solicited Pursuant to one or more of the submitting this form for this information.
following: 5 U.S.C. 301, 28 U.S.C. 501 et seq., 28 U.S.C. 2671 et seq., 28C.F.R.] D. Effect of Failure to Respond: Disclosure ts voluntary. However, failure to supply the
Part 14. requested information or to execute the form may render your claim “invalid.”

 

PAPERWORK REDUCTION ACT NOTICE

response, including the time for reviewing instructions, Searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of
information. Send comments regarding this burden estimate or any other aspect of this collection of information, including suggestions for reducing this burden, to the Director, Torts

Branch, Attention: Paperwork Reduction Staff, Civil Division, U.S. Department of Justice, Washington, DC 20530 or to the Office of Management and Budget. Do not mail completed
form(s) to these addresses.

 

 

STANDARD FORM 95 REV. (2/2007) BACK

 
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ATA ny, . "
8. This claim is based on the alleged medical malpractice of Dr. Carol. Sandoval-Herrera
+
and Access Community Health Network as employees/agents of'the Feder Government, and
non-Federal entities Mount Sinai Hosj fal Medical Center of Chicago, Sinai Health System, and
The Mount Sinai Community Foundation, in their medical treatment of the olaintift Sparkles
Wages.

On September 4, 2012, plaintiff Sparkles Wages underwent a MRI with and without
contrast of her pelvis at Mount Sinai Hospital due to a clinical history of fibroids. A 5.5 cm by
5.4 cm by 9.4 cm myometrial mass was visualized arising from the posterior wall of her uterus
on the aforesaid MRI which was consistent with an intra myometrial uterine fibroid. On
September 10, 2012, plaintiff Sparkles Wages underwent a hand-assisted laparoscopic
myomectomy, laparoscopic lysis adhesions, and chromotubation procedure at Mount Sinai
Hospital Medical Center Of Chicago and performed by Dr. Carlos Sandoval-Herrera. The
aforesaid procedure was performed utilizing a Cooper Surgical KOH Cup, model number KCS-
85, 3.5 cm.

On September 11, 2012, Carols Sandoval-Herrera, MD assessed Sparkles Wages at
Mount Sinai Hospital Medical Center Of Chicago and discharged her home with instructions to
follow up with him in approximately one week. On September 17, 2012, plaintiff Sparkles
Wages was seen at Access Community Health Network with complaints of pain and vaginal
bleeding, and was discharged home with instructions to return if her symptoms persisted or
worsened. On September 19, 2012, plaintiff Sparkles Wages was seen by Carlos Sandoval-

Herrrera, M.D. at Access Community Health Network for follow-up evaluation and treatment

with continued complaints of pain and was counseled in healthy lifestyle and nutritional advice,
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and was discharged with instructions to follow up in four weeks. On October 22, 2012, plaintiff
Sparkles Wages returned to Access Community Health Network with continued complaints of
pain and vaginal discharge, where she was given a screening for sexually transmitted diseases,
diagnosed with bacterial vaginosis, given a prescription for Flagyl, and discharged with
instructions to return in approximately one month. On November 21, 2012, plaintiff Sparkles
Wages returned to Access Community Health Network with continued complaints of pain and
vaginal discharge and was discharged home with instructions to undergo an ultrasound. On
December 3, 2012, plaintiff Sparkles Wages was seen at Mount Sinai Hospital Medical Center
Of Chicago where she underwent a pelvic transabdominal and transvaginal ultrasound, and was
diagnosed with an enlarged uterus.

On December 15, 2012, plaintiff Sparkles Wages presented to the Mercy Hospital
emergency department in Chicago with severe pain in her abdomen, legs, foul smelling vaginal
discharge, vaginal bleeding, and constipation. On December 15, 2012, at Mercy Hospital
emergency department, a vaginal cervical cap foreign body used during the plaintiff's September
10, 2012, surgical procedure was visualized on a pelvic exam. On December 17, 2012, the
plaintiff returned to Mercy Hospital emergency department where the retained foreign body,
Cooper Surgical cervical cap used in the September 10, 2012, surgery was removed successfully.
On December 17, 2012, Sparkles Wages was diagnosed at Mercy Hospital with
cervicitis/vaginitis and was discharged with antibiotics. On December 28, 2012, Sparkles Wages
was seen at a Mercy Hospital Clinic with complaints of pain, itching, and vaginal discharge,
where she was diagnosed with a vaginal infection and was discharged with antibiotics. On

March 17, 2013, Sparkles Wages was seen at Northwestern Memorial Hospital emergency
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department with complaints of severe and increasing abdominal pain, cramping, vaginal spotting,
and burning sensation inside her vagina.

The plaintiff alleges that the defendants, including Dr. Carlos Sandoval-Herrera and
Access Community Health Network, negligently performed the hand-assisted laparoscopic
myomectomy, laparoscopic lysis adhesions, and chromotubation procedure, negligently left
instrumentation inside of Sparkles Wages at the completion of the procedure, negligently
discharged Sparkles Wages from Mt. Sinai and Access Community Health Network, and
negligently treated Sparkles Wages and her conditions post-operatively. See also, attached

plaintiff's underlying lawsuit for further facts/allegations regarding this claim.

10. | Sparkles Wages has suffered severe complications and injuries as a direct and
proximate result of the negligence of Dr. Carlos Sandoval Herrera and Access Community
Health Network. Those injuries include severe pain and suffering as a result of the cramping,
vaginal discharge, vaginal bleeding, and infection present in her pelvic area. She has been
hospitalized on numerous occasions. She was diagnosed with Adenomyosis and was forced to
terminate a pregnancy due to her inability to carry the baby to term. She ultimately was forced to
undergo a hysterectomy, precluding her from ever bearing another child. She has had further
complications with her intestines as a result of the trauma to her pelvic region, and may be forced

to undergo additional surgeries.

11. Additional witnesses include those physicians, nurses, and staff rendering Ms.
Wages medical treatment at Mount Sinai, Mercy Hospital, Northwestern Memorial Hospital, and

Access Community Health Network, including:
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Dr. Scott Moses, Northwestern Memorial Hospital
Dr. Christopher Shinneman, MD, Mercy Hospital
Dr. Alfreda Hampton, MD-OBGY, Mercy Hospital
Dr. Vasilios Bournas, DO, Mercy Hospital

Dr. Melissa Millewich, MD, Mercy Hospital
